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                                             1    Keith C. Owens (Bar No 184841)                 D. Edward Hays (Bar No. 162507)
                                                  Nicholas A. Koffroth (Bar No. 287854)          Laila Masud (Bar No. 311731)
                                             2    FOX ROTHSCHILD LLP                             MARSHACK HAYS WOOD LLP
                                                  10250 Constellation Blvd., Suite 900           870 Roosevelt
                                             3    Los Angeles, CA 90067                          Irvine, CA 92620
                                                  Telephone:    (310) 598-4150                   Telephone:    (949) 333-7777
                                             4    Facsimile:    (310) 556-9828                   Facsimile:    (949) 333-7778
                                                  kowens@foxrothschild.com                       ehays@marshackhays.com
                                             5    nkoffroth@foxrothschild.com                    lmasud@marshackhays.com
                                             6    Counsel for Official Committee of Unsecured    General Counsel for Chapter 11 Trustee
                                                  Creditors
                                             7
                                             8                           UNITED STATES BANKRUPTCY COURT
                                                                          CENTRAL DISTRICT OF CALIFORNIA
                                             9                                  SANTA ANA DIVISION

                                            10    In re:                                        Chapter 11
                                            11
                                                  THE LITIGATION PRACTICE GROUP,                Case No. 8:23-bk-10571-SC
10250 Constellation Boulevard, Suite 900




                                            12    P.C.,
     Los Angeles, California 90067




                                                                                                NOTICE OF FIRST SUPPLEMENT TO
       FOX ROTHSCHILD LLP



         (310) 556-9828 (fax)




                                            13                                                  DISCLOSURE STATEMENT
           (310) 598-4150




                                                           Debtor.                              DESCRIBING JOINT CHAPTER 11
                                            14                                                  PLAN OF LIQUIDATION (DATED
                                                                                                MARCH 22, 2024)
                                            15
                                            16
                                                                                                Hearing Date and Time
                                            17                                                  Date: May 15, 2024
                                                                                                Time: 1:30 p.m.
                                            18                                                  Place: In Person or Via ZoomGov
                                                                                                       Courtroom 5C
                                            19                                                         411 West Fourth Street
                                                                                                       Santa Ana, California 92701
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                                             1             PLEASE TAKE NOTICE that, on March 22, 2024, the Official Committee of Unsecured
                                             2   Creditors (the “Committee”) of The Litigation Practice Group P.C. (the “Debtor”), in the above-
                                             3   referenced bankruptcy case (the “Bankruptcy Case”) pending under chapter 11 of title 11 of the
                                             4   United States Code (the “Bankruptcy Code”)1 and Richard A. Marshack, in his capacity as the chapter
                                             5   11 trustee of the Debtor (the “Trustee” and, together with the Committee, the “Plan Proponents”),
                                             6   jointly submitted the Disclosure Statement Describing Joint Chapter 11 Plan of Liquidation (Dated
                                             7   March 22, 2024) [Docket No. 1058] (as may be amended, modified, or further supplemented, the
                                             8   “Disclosure Statement”). A jointly-submitted motion [Docket No. 159] to approve the Disclosure
                                             9   Statement is set for hearing before the above-captioned Court on May 15, 2024, at 1:30 p.m.
                                            10             PLEASE TAKE FURTHER NOTICE that the Plan Proponents hereby file the Liquidation

                                            11   Analysis (as that term is defined in the Disclosure Statement) attached hereto as Exhibit A as a
10250 Constellation Boulevard, Suite 900




                                            12   supplement to the Disclosure Statement.
     Los Angeles, California 90067
       FOX ROTHSCHILD LLP



         (310) 556-9828 (fax)




                                            13
           (310) 598-4150




                                            14             DATED this 29th day of April, 2024.

                                            15
                                                     FOX ROTHSCHILD LLP                                   MARSHACK HAYS WOOD LLP
                                            16
                                            17       By:   /s/ Nicholas A. Koffroth                       By:
                                                        Keith C. Owens (Bar No. 184841)                      D. Edward Hays (Bar No. 162507)
                                            18          Nicholas A. Koffroth (Bar No. 287854)                Laila Masud (Bar No. 311731)
                                                        Constellation Place                                  870 Roosevelt
                                            19          10250 Constellation Blvd., Suite 900                 Irvine, California 92620
                                                        Los Angeles, California 90067                     General Counsel for Chapter 11 Trustee
                                            20       Counsel for the Committee
                                            21
                                            22
                                            23
                                            24
                                            25
                                            26
                                            27
                                                 1
                                                     Unless otherwise noted, all references to “Section” or “§” refer to a section of the Bankruptcy Code.
                                            28

                                                                                                      1
                                                 157908333.1
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                               EXHIBIT A
Litigation Practice Group
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                                                                                                                              PRELIMINARY DRAFT - SUBJECT TO MATERIAL CHANGE
Financial Projections                                                             Main Document     Page 4 of 11
Comparison of Proposed POL vs Ch 7 Liquidation

                                    Proposed Ch 11       Hypothetical Ch 7        Proposed POL          Pass Best
                                         POL               Liquidation           Higher / (Lower)    Interests Test ?     Comments

Estimated Recovery to Creditors

Secured Claims                          100.0%                 100.0%                  0.0%               PASS


Admministrative Expenses
Super-priority Admin Loans              100.0%                 100.0%                  0.0%               PASS
Ch 11 Fees & Expenses                   100.0%                 100.0%                  0.0%               PASS            Includes all post-petition professionals plus UST Fees
Ch 7 Fees & Expenses                      NA                   100.0%                   NA                 NA             Includes all post-conversion professionals plus UST Fees
Operating Expenses                      100.0%                 100.0%                  0.0%               PASS            Includes all amounts incurred post-petition, post-Eff Date, and/or post-conversion


Priority Unsecured Claims               100.0%                 100.0%                  0.0%               PASS

General Unsecured Claims
Projected GUC Recovery                4,760,005              4,544,829               215,177              PASS            Projected recoveries exclude litigation recoveries, which remain subject to further analysis
Est'd Allowed GUC Claims Pool        190,000,000            190,000,000                                                   Filed GUC POCs of $485+ mil est'd to be Allowed at $190 mil, subject to further analysis
% Recovery                              2.51%                  2.39%                  0.11%               PASS


As shown above, the Proposed Plan of Liquidation ("POL") is expected to generate the same or a higher recovery to all creditors, including General Unsecured Creditors ("GUC"), than a hypothetical conversion to
a Ch 7 liquidation.

It should be noted that this analysis does not yet include the anticipated recoveries on various causes of action and other litigation efforts currently being pursued by the Chapter 11 Trustee. The Chapter 11 Trustee
believes that these recoveries will be material, and would be benefit GUCs under both the POL and Ch 7 liquidations scenarios equally, however these efforts are too preliminary to assign any potential values to them.

It should also be noted that under a hypothetical liquidation scenario, most payments to creditors are expected to be substantially delayed compared to the timing anticipated under the Proposed POL, the impact of
which has not yet been factored in to the above analysis.




                                                                                                                                                                                                                  Page 1 of 4
Litigation Practice Group
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                                                                                                                               PRELIMINARY DRAFT - SUBJECT TO MATERIAL CHANGE
Financial Projections                                                                 Main Document     Page 5 of 11
Proposed POL Feasibility Analysis
                                         2024            2025            2026             2027            Total
Cash Flow Projections

Residual Sale Proceeds                  2,848,625       5,085,645        689,687                  0      8,623,957
Recovery on Pending Litigation                                   No assigned value                                       See Notes below (p4), it is too preliminary to estimate a recovery on pending litigation efforts
Other Cash Receipts                       228,142               0              0                  0        228,142
Total Inflows                           3,076,767       5,085,645        689,687                  0      8,852,099

Operating Expenses of the Ch 11 Bankruptcy Estate
Ordinary Course Professionals         (100,000)                  0               0                0       (100,000)
Other Expenses                         (37,895)                  0               0                0        (37,895)
Ch 11 Trustee Fees                    (479,149)                  0               0                0       (479,149)      See Notes below (p4), est'd prof fees shown for analysis purposes only, actuals fees will vary
UST Fees                               (11,591)                  0               0                0        (11,591)
Total Ch 11 Operating Disb            (628,635)                  0               0                0       (628,635)

Operating Expenses of the Liquidating Trust
Ordinary Course Professionals                  0         (100,000)        (100,000)       (100,000)       (300,000)
Other Expenses                            (7,579)         (45,474)         (45,474)        (45,474)       (144,001)
Liq Trustee Fees                               0          (93,379)         (89,183)         (8,688)       (191,249)      See Notes below (p4), est'd prof fees shown for analysis purposes only, actuals fees will vary
UST Fees                                       0         (122,001)         (23,883)         (2,707)       (148,591)      See Notes below (p4), for purposes of this analysis, UST Fees shown as paid through discharge
LT Oversight Expenses                    (20,000)        (120,000)        (120,000)       (120,000)       (380,000)
Total LT Operating Disb                  (27,579)        (480,854)        (378,540)       (276,868)     (1,163,841)

Payments on Estimated Allowed Claims (excl General Unsecured Claims)
Secured Claims                     (3,000,000)              0                    0                0     (3,000,000)      See Notes below (p4), secured claims assumed to be settled for a total of $3 million
Super-priority Admin Loans         (1,205,279)              0                    0                0     (1,205,279)
Post-Petition Professional Fees    (7,703,272)              0                    0                0     (7,703,272)      See Notes below (p4), est'd prof fees shown for analysis purposes only, actuals fees will vary
Administrative Claims                 (959,458)             0                    0                0       (959,458)
Priority Unsecured Claims             (499,313)             0                    0                0       (499,313)
Est'd Allowed Claims (excl GUC)   (13,367,323)              0                    0                0    (13,367,323)

General Unsecured Claims                         0     (2,153,074)      (2,594,206)        (12,725)     (4,760,005)

Net Cash Flows                        (10,946,769)      2,451,717       (2,283,059)       (289,593)    (11,067,705)

Beginning Cash                         11,067,705         120,936       2,572,652          289,593      11,067,705       Beginning Cash per December 2023 MOR, all of which is assumed to be available to fund the
                                                                                                                         POL
Ending Cash                               120,936       2,572,652         289,593                (0)              0



Notes:
                 10/31/2024         Assumed Effective Date, Secured, Administrative, and Priority Claims to be paid in full
                  1/31/2026         Projected date that last payment of Residual Sale Proceeds is received from Buyer
                 12/31/2027         Assumed date that liquidation is completed and payments made to all creditors



                                                                                                                                                                                                                      Page 2 of 4
Litigation Practice Group
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Financial Projections                                                              Main Document     Page 6 of 11
Hypothetical Ch 7 Liquidation Analysis
                                         2024         2025            2026            2027            Total
Cash Flow Projections

Residual Sale Proceeds                   2,848,625    5,085,645        689,687                0      8,623,957
Recovery on Pending Litigation                                 No assigned value                                      See Notes below (p4), it is too preliminary to estimate a recovery on pending litigation efforts
Other Cash Receipts                        228,142            0              0                0        228,142
Total Inflows                            3,076,767    5,085,645        689,687                0      8,852,099

Operating Expenses of the Ch 11 Bankruptcy Estate
Ordinary Course Professionals         (100,000)               0               0              0        (100,000)
Other Expenses                         (37,895)               0               0              0         (37,895)
Ch 11 Trustee Fees                            0               0               0       (114,438)       (114,438)       See Notes below (p4), est'd prof fees shown for analysis purposes only, actuals fees will vary
UST Fees                               (11,591)               0               0              0         (11,591)
Total Ch 11 Operating Disb            (149,486)               0               0       (114,438)       (263,924)

Operating Expenses of the Ch 7 Bankruptcy Estate
Ordinary Course Professionals                 0        (100,000)       (100,000)       (100,000)      (300,000)
Other Expenses                           (7,579)        (45,474)        (45,474)        (45,474)      (144,001)
Ch 7 Trustee Fees                             0               0               0        (581,138)      (581,138)       See Notes below (p4), est'd prof fees shown for analysis purposes only, actuals fees will vary
UST Fees                                      0          (2,541)         (2,625)       (143,425)      (148,591)       See Notes below (p4), for purposes of this analysis, UST Fees shown as paid through discharge
Post-Conversion Prof Fees               (30,000)       (180,000)       (180,000)       (180,000)      (570,000)
Total Ch 7 Operating Disb               (37,579)       (328,015)       (328,099)     (1,050,037)    (1,743,729)

Payments on Estimated Allowed Claims (excl General Unsecured Claims)
Secured Claims                               0              0                 0      (3,000,000)    (3,000,000)       See Notes below (p4), secured claims assumed to be settled for a total of $3 million
Super-priority Admin Loans         (1,205,279)              0                 0               0     (1,205,279)
Post-Petition Professional Fees              0              0                 0      (7,703,272)    (7,703,272)       See Notes below (p4), est'd prof fees shown for analysis purposes only, actuals fees will vary
Administrative Claims                        0              0                 0        (959,458)      (959,458)
Priority Unsecured Claims                    0              0                 0        (499,313)      (499,313)
Est'd Allowed Claims (excl GUC)    (1,205,279)              0                 0     (12,162,044)   (13,367,323)

General Unsecured Claims                        0             0               0      (4,544,829)    (4,544,829)

Net Cash Flows                           1,684,424    4,757,630        361,588      (17,871,347)   (11,067,705)

Beginning Cash                       11,067,705      12,752,129     17,509,759      17,871,347      11,067,705        Beginning Cash per December 2023 MOR, all of which is assumed to be available to fund the
                                                                                                                      POL
Ending Cash                          12,752,129      17,509,759     17,871,347                0               0



Notes:
                 10/31/2024       Assumed date of conversion from Ch 11 to Ch 7
                  1/31/2026       Projected date that last payment of Residual Sale Proceeds is received from Buyer
                 12/31/2027       Assumed date that liquidation is completed and payments made to all creditors



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Litigation Practice Group
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Financial Projections                                                             Main Document                  Page 7 of 11
Notes to Proposed POL Feasibility Analysis and Hypothetical Ch 7 Liquidation Analysis


Notes to Proposed POL Feasibility Analysis

The Proposed POL Feasibility Analysis assumes a scenario based on the currently proposed Plan of Liquidation ("POL"), including:
 - The Bankruptcy Estate continues operating until the assumed Effective Date of Nov 1, 2024, after which operations continue under the structure of the Liquidating Trust (as described in the Disclosure
Statement),
 - All Super-Priority Administrative Loans are paid per their terms,
 - All Ch 11 Professional Fees and Allowed Secured, Administrative, Priority, and 503(b)(9) Claims are to be paid as per the proposed POL, which for purposes of this analysis are assumed to be paid on the
Effective Date,
 - Fees owed to the Ch 11 Trustee are assumed to be paid on the Effective Date; fees owed to the US Trustee are assumed to be paid quarterly in arrears; fees owed to the Liquidating Trustee are assumed
to be paid monthly in arrears, and
 - Additional LT Oversight Expenses of $10k / month are assumed to be incurred during the timeframe of the Liquidating Trust and paid monthly.

Amounts shown for Secured, Administrative, Priority, and 503(b)(9) Claims have been preliminarily estimated based on claims filed through their court-approved bar dates and remain subject to a claims
reconciliation process which may result in material adjustments.
 - The Chapter 11 Trustee believes the vast majority of Secured Claims are subject to dispute and so for purposes of this analysis, it is assumed that all Secured Claims will be settled for a total $3 million
with any remaining amounts owed being unsecured deficiency claims; this remains subject to ongoing negotiations with such creditors and the above referenced claims reconciliation process.

Amounts to operate both the Bankruptcy Estate and the Liquidating Trust include annual tax reporting costs plus other relatively small amounts for insurance, document retention, and other required
disbursements.

The Proposed POL Feasibility Analysis assumes a discharge from bankruptcy occurs by the end of the calendar year following the receipt of the last payments of Residual Sale Proceeds from the Buyer. US
Trustee fees are projected throughout that timeframe, as well as fees owed to the Liquidating Trustee, which are estimated at 3% of the projected disbursements from the Liquidating Trust.

The Liqudating Trustee is assumed to retain legal professionals to assist with pursuing Litigation Recoveries. It is assumed that any such fees incurred will be less than the Litigation Recoveries
themselves. Because the Litigation Recoveries remain subject to further analysis at this time, neither the inflows nor the outflows are included in this analysis, pending further details becoming
available.




Notes to Hypothetical Ch 7 Liquidation Analysis

The Hypothetical Ch 7 Liquidation Analysis includes the same basic assumptions as the Proposed POL Feasibility Analysis, including the still-pending analysis of potential Litigation Recoveries (net of any
legal costs), with the following exceptions:

- The case is converted to a Ch 7 Liquidation instead of having a POL confirmed, and a Ch 7 Trustee is appointed to pursue the monetization of any remaining assets and to determine the final amounts
owed to any creditors in keeping with the bankruptcy code. Potential payments to all creditors and also to the Ch 11 Trustee are accordingly deferred while the Ch 7 Trustee performs such tasks.




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 1                                  PROOF OF SERVICE OF DOCUMENT
 2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
     address is 10250 Constellation Boulevard, Suite 900, Los Angeles, CA 90067.
 3
     A true and correct copy of the foregoing documents entitled: NOTICE OF FIRST SUPPLEMENT TO
 4   DISCLOSURE STATEMENT DESCRIBING JOINT CHAPTER 11 PLAN OF LIQUIDATION
     (DATED MARCH 22, 2024) on the judge in chambers in the form and manner required by LBR 5005-
 5
     2(d); and (b) in the manner stated below:
 6   1.    TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant
     to controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
 7   hyperlink to the document. On 4/29/2024, I checked the CM/ECF docket for this bankruptcy case or
     adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
 8   receive NEF transmission at the email addresses stated below:
 9
            Eric Bensamochan eric@eblawfirm.us, G63723@notify.cincompass.com
10          Ronald K Brown ron@rkbrownlaw.com
            Christopher Celentino christopher.celentino@dinsmore.com, caron.burke@dinsmore.com
11          Shawn M Christianson cmcintire@buchalter.com, schristianson@buchalter.com
            Randall Baldwin Clark rbc@randallbclark.com
12          Leslie A Cohen leslie@lesliecohenlaw.com,
             jaime@lesliecohenlaw.com;clare@lesliecohenlaw.com
13          Daniel A Edelman dedelman@edcombs.com, courtecl@edcombs.com
            Christopher Ghio christopher.ghio@dinsmore.com, Kristina.Heller@Dinsmore.com
14          Jeffrey I Golden jgolden@go2.law,
             kadele@ecf.courtdrive.com;cbmeeker@gmail.com;lbracken@wgllp.com;gestrada@wgllp.com;go
15           lden.jeffreyi.b117954@notify.bestcase.com
            Richard H Golubow rgolubow@wghlawyers.com,
16           jmartinez@wghlawyers.com;svillegas@wghlawyers.com
            D Edward Hays ehays@marshackhays.com,
17           ehays@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com;cmendoza@marshackhays.com;cmend
             oza@ecf.courtdrive.com
18
            Alan Craig Hochheiser ahochheiser@mauricewutscher.com,
19           arodriguez@mauricewutscher.com
            Garrick A Hollander ghollander@wghlawyers.com,
20           jmartinez@wghlawyers.com;svillegas@wghlawyers.com
            Razmig Izakelian razmigizakelian@quinnemanuel.com
21          Joon M Khang joon@khanglaw.com
            Ira David Kharasch ikharasch@pszjlaw.com
22          Nicholas A Koffroth nkoffroth@foxrothschild.com, khoang@foxrothschild.com
            David S Kupetz David.Kupetz@lockelord.com, mylene.ruiz@lockelord.com
23          Christopher J Langley chris@slclawoffice.com,
             omar@slclawoffice.com;langleycr75251@notify.bestcase.com;ecf123@casedriver.com
24          Daniel A Lev daniel.lev@gmlaw.com, cheryl.caldwell@gmlaw.com;dlev@ecf.courtdrive.com
            Michael D Lieberman mlieberman@lipsonneilson.com
25          Yosina M Lissebeck Yosina.Lissebeck@Dinsmore.com, caron.burke@dinsmore.com
            Richard A Marshack (TR) pkraus@marshackhays.com,
26           rmarshack@iq7technology.com;ecf.alert+Marshack@titlexi.com
            Laila Masud lmasud@marshackhays.com,
27           lmasud@ecf.courtdrive.com;kfrederick@ecf.courtdrive.com
            Kenneth Misken Kenneth.M.Misken@usdoj.gov
28
            Byron Z Moldo bmoldo@ecjlaw.com, amatsuoka@ecjlaw.com,dperez@ecjlaw.com

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 1          Alan I Nahmias anahmias@mbn.law, jdale@mbnlawyers.com
            Victoria Newmark vnewmark@pszjlaw.com
 2          Queenie K Ng queenie.k.ng@usdoj.gov
            Teri T Pham tpham@epglawyers.com, ttpassistant@epglawyers.com
 3          Douglas A Plazak dplazak@rhlaw.com
            Ronald N Richards ron@ronaldrichards.com, 7206828420@filings.docketbird.com
 4          Gregory M Salvato gsalvato@salvatoboufadel.com,
             calendar@salvatolawoffices.com;jboufadel@salvatoboufadel.com;gsalvato@ecf.inforuptcy.com
 5
            Olivia Scott olivia.scott3@bclplaw.com
 6          Jonathan Serrano jonathan.serrano@dinsmore.com
            Paul R Shankman PShankman@fortislaw.com, info@fortislaw.com
 7          Leslie Skorheim leslie.skorheim@usdoj.gov
            Andrew Still astill@swlaw.com, kcollins@swlaw.com
 8          United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
            Sharon Z. Weiss sharon.weiss@bclplaw.com,
 9           raul.morales@bclplaw.com,REC_KM_ECF_SMO@bclplaw.com
            Johnny White JWhite@wrslawyers.com, jlee@wrslawyers.com;eweiman@wrslawyers.com
10
     2.     SERVED BY UNITED STATES MAIL: On 4/29/2024, I served the following persons and/or
11   entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true and
     correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and addressed
12   as follows.
13   Debtor
     The Litigation Practice Group P.C.
14   17542 17th St., Suite 100
     Tustin, CA 92780
15
                                 See attached for additional parties
16

17    3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION
     OR EMAIL (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling
18   LBR, on 4/29/2024, I served the following persons and/or entities by personal delivery, mail service, or (for
     those who consented in writing to such service method), by facsimile transmission and/or email as follows.
19   Listing the judge here constitutes a declaration that personal delivery on, or overnight mail to, the judge will
     be completed no later than 24 hours after the document is filed.
20
     The Honorable Scott C. Clarkson
21   United States Bankruptcy Court, Central District of California
     411 West Fourth Street, Suite 5130 / Courtroom 5C
22   Santa Ana, CA 92701-4593
23

24
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
25
         4/29/2024              Kimberly Hoang                                   /s/ Kimberly Hoang
26       Date                      Printed Name                                           Signature

27

28
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 1

 2                                Additional Parties Served by U.S. Mail
 3   Creditors who have the 20 largest unsecured claims
 4   Debt Validation Fund II, LLC
     5075 Lower Valley Road,
 5   Atglen, PA 19310
 6   MC DVI Fund 1, LLC; MC
     DVI Fund 2, LLC
 7   598 Cottonwood Dr.,
     Glenview, IL 60026
 8
     Validation Partners LLC
 9   1300 Sawgrass Pkwy, Ste. 110
     Sunrise, FL 33323
10
     Marich Bein LLC
11   99 Wall Street, Ste 2669
     New York, NY 10005
12
     Business Centers of America
13   1100 Sir Francis Drake Blvd,
     Ste 1, Kentfield, CA 94904
14
     JP Morgan Chase
15   3 Park Plaza, Ste 900
     Irvine, CA 92614
16
     CA Franchise Tax Board
17   PO Box 942857
     Sacramento, CA 94257-0511
18
     Outsource Accelerator Ltd
19   City Marque Limited
     Unit 8801-2 Bldg. 244-248
20   Des Voeux Rd.
     Central Hong Kong
21
     Collaboration Advisors
22   400 Dorla Court
     Zephyr Cove, NV 89448
23
     Anthem Blue Cross
24   PO Box 511300
     Los Angeles, CA 90051-7855
25
     Azevedo Solutions Groups, Inc.
26   420 Adobe Canyon Rd.
     Kenwood, CA 95452
27
     Debt Pay Pro
28   1900 E Golf Road, Suite 550
     Schaumburg, IL 60173
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 2   Sharp Business Systems
     8670 Argent St
 3   Santee, CA 92071
 4   Tustin Executive Center
     1630 S Sunkist Steet, Ste A
 5   Anaheim, CA 92806
 6   Exela Enterprise Solutions
     2701 E. Grauwyler Road
 7   Irving, TX 75061
 8   Netsuite-Oracle
     2300 Oracle Way
 9   Austin, TX 78741
10   Credit Reporting Service Inc
     548 Market St, Suite 72907
11   San Francisco, CA 94104-5401
12   Document Fulfillment Services
     2930 Ramona Ave #100
13   Sacramento, CA 95826
14   Executive Center LLC
     5960 South Jones Blvd
15   Las Vegas, NV 89118
16   LexisNexus
     15500 B Rockfield Blvd
17   Irvine, CA 92618
18
     Secured Creditors
19
     Diverse Capital LLC
20   323 Sunny Isles Blvd., Suite 503
     Sunny Isles, FL 33154
21
     City Capital NY
22   1135 Kane Concourse
     Bay Harbour Islands, FL 33154
23
     Counsel for secured creditor Fundura Capital Group
24   Mitchell B. Ludwig
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25   550 North Brand Blvd., Suite 1500
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